         Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 1 of 18




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

LAWRENCE HARTMAN, JR.                         )       Civil Action No. 2:21-cv-1078
                                              )
       Plaintiff,                             )
                                              )
v.                                            )
                                              )
HENRY CLAY TOWNSHIP,                          )
CHARLES MYERS, in his official and            )
individual capacity,                          )
WILLIAM HAYDEN, in his official               )
and individual capacity,                      )
MCMILLAN ENGINEERING, INC.,                   )
TAMMY STENSON, in her official                )
and individual capacity, and                  )
RICK WILSON, in his official                  )
and individual capacity,                      )       Jury Trial Demanded.
                                              )
       Defendants.                            )       Electronically Filed.

                              COMPLAINT IN A CIVIL ACTION

       COMES NOW, the Plaintiff, LAWRENCE HARTMAN, JR., by and through his

attorneys, LAW OFFICES OF JOEL SANSONE, JOEL S. SANSONE, ESQUIRE, MASSIMO

A. TERZIGNI, ESQUIRE, and ELIZABETH A. TUTTLE, ESQUIRE, and hereby files this

Complaint in a Civil Action averring as follows:

                                 JURISDICTION AND VENUE

1.     This is an action for the redress of grievances and in vindication of various civil rights

guaranteed to the Plaintiff under the Constitution of the United States and the laws enacted in

furtherance thereof, including 42 U.S.C. § 1983.

2.     This action is brought against the Defendants for violating Plaintiff’s rights under the

First and Fourteenth Amendment of the United States Constitution and 42 U.S.C. § 1983.

3.     Jurisdiction is founded on 28 U.S.C. § 1331 and 1343(3).




                                                  1
         Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 2 of 18




4.     Venue is proper as all claims set forth herein arose in the Western District of

Pennsylvania and the Plaintiff is located in the Western District of Pennsylvania.

                                            PARTIES

5.     Plaintiff, Lawrence Hartman, Jr., is an adult individual and resident of Fayette County,

Pennsylvania.

6.     Defendant, Henry Clay Township (“Township”), is a Pennsylvania municipal corporation

with administrative offices located at 156 Martin Road, Markleysburg, Pennsylvania 15459. At

all times relevant to this Complaint, Defendant Township acted by and through its officials,

including, but not limited to, Defendants Charles Myers, William Hayden, McMillen

Engineering, Tammy Stenson and Rick Wilson.

7.     Defendant, Charles Myers (“Myers”), is an adult individual and resident of Fayette

County, Pennsylvania. At all times relevant to this Complaint, Defendant Myers was a duly

elected supervisor of Defendant Township, employed by Defendant Township, purporting to act

within the full scope and authority of his office. In his capacity as supervisor, Defendant Myers

purported to act as a decision-maker for Defendant Township.

8.     Defendant, William Hayden (“Hayden”), is an adult individual and resident of Fayette

County, Pennsylvania. At all times relevant to this Complaint, Defendant Hayden was a duly

elected supervisor of Defendant Township, employed by Defendant Township, purporting to act

within the full scope and authority of his office. In his capacity as supervisor, Defendant Hayden

purported to act as a decision-maker for Defendant Township.

9.     Defendant, McMillen Engineering, Inc. (“McMillen”), is a business corporation with a

registered address of 115 Wayland Smith Drive, Uniontown, Pennsylvania 15401. Since in or




                                                 2
           Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 3 of 18




about January of 2021, Defendant McMillen is, and was the code enforcement officer for

Defendant Township, purporting to act within the full scope and authority of its office.

10.       Defendant, Tammy Stenson (“Stenson”), is an adult individual. Plaintiff believes, and

therefore avers, that Defendant Stenson is a resident of Fayette County, Pennsylvania. At all

times relevant to this Complaint, Defendant Stenson was the Senior Project Planner for

Defendant McMillen. Since in or about January of 2021, Defendant Stenson is, and was, a code

enforcement officer for Defendant Township, purporting to act within the full scope and

authority of her office.

11.       Defendant, Rick Wilson (“Wilson”), is an adult individual and a resident of Fayette

County, Pennsylvania. At all times relevant to this Complaint, Defendant Wilson was employed

as a code enforcement officer for Defendant Township, purporting to act within the full scope

and authority of his office.

12.       The actions of Defendants described herein are part of an unlawful pattern and course of

conduct intended to harm the Plaintiff. All of the acts described below were committed by

Defendants with reckless disregard and/or deliberate indifference to the constitutional rights of

the Plaintiff, and they were done under the color and pretense of the law. As a direct and

proximate result thereof, Defendants violated the Plaintiff’s constitutional rights, as described

herein.

                                    FACTUAL ALLEGATIONS

13.       Plaintiff is a resident of Defendant Township and owns residential and commercial

properties located in Defendant Township.

14.       In or about 2011, Defendant Wilson placed large rocks and other debris onto a right-of-

way owned by the Plaintiff and located along the boundary of 4907 National Pike,




                                                  3
          Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 4 of 18




Markleysburg, Pennsylvania 15459. These rocks and other debris obstruct the Plaintiff’s right-

of-way and impede its use.

15.      Defendant Wilson placed these large rocks and other debris on the Plaintiff’s right-of-

way without the Plaintiff’s consent.

16.      Throughout 2011 to the present, Plaintiff has continued to demand that Defendant Wilson

remove these large rocks and debris from the Plaintiff’s right-of-way.

17.      Despite the Plaintiff’s continued demands, Defendant Wilson refuses to remove the

aforementioned rocks and debris from the Plaintiff’s right-of-way.

18.      In or about August of 2014, Plaintiff was appointed to Defendant Township’s zoning

board.

19.      In or about September of 2019, Plaintiff bought a property located on Route 40 in

Defendant Township.

20.      Shortly thereafter, Defendant Myers made false allegations to the Plaintiff that there was

garbage buried on this property and threatened to report the Plaintiff to the Department of

Environmental Protection in his capacity as supervisor for Defendant Township.

21.      Plaintiff believes, and therefore avers, that Defendant Myers knew that there was not

garbage buried on the property and/or was threatening the Plaintiff in order to force the Plaintiff

to sell the property.

22.      As a direct and proximate result of the threats by Defendant Myers, as more fully

described hereinbefore above, Plaintiff was forced to sell his property. Notably, Plaintiff was

forced to sell this property expeditiously for a for a significantly lower amount than the actual

worth of the property.




                                                  4
         Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 5 of 18




23.    Plaintiff believes, and therefore avers, that Defendant Myers has not made similar threats

to other similarly situated property owners in order to force these property owners to sell their

properties.

24.    No rational basis exists for this difference in treatment.

25.    In or about June of 2020, Plaintiff applied for a permit to operate a used car lot on his

commercial property located in Defendant Township.

26.    At that time, Defendant Township did not approve Plaintiff’s request for a permit.

Instead, Defendant Myers, in his capacity as township supervisor, personally contacted numerous

business owners throughout the community to inquire if Defendant Township should approve

this permit.

27.    Plaintiff believes, and therefore avers, that Defendant Myers and/or Defendant Township

did not contact numerous businesses to inquire about the approval of permits for other similarly

situated business owners.

28.    No rational basis exists for this difference in treatment.

29.    Plaintiff, as a business owner, was not contacted by Defendant Township to approve the

permits of other businesses of similarly situated business owners, including, but not limited to,

Steven Humbert’s (“Humbert”) used car lot in or about 2019.

30.    Moreover, Plaintiff made several complaints about the violations of Mr. Humbert’s used

car lot in or about 2017 to 2019. Defendant Township, however, approved Mr. Humbert’s

permits, despite its knowledge of the aforementioned violations and complaints.

31.    No rational basis exists for this difference in treatment.

32.    Approximately one (1) month after the Plaintiff applied for a permit, in or about July of

2020, Defendant Township finally approved the permit for a used car lot on the Plaintiff’s




                                                 5
          Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 6 of 18




property. However, the approval stated that the Plaintiff’s permit was approved “with special

exceptions.” When Plaintiff asked the Defendants Myers, Hayden and Wilson about this

language, no Defendant could specify what these “special exceptions” to the permit were.

33.      Plaintiff believes, and therefore avers, that other, similarly situated business owners in

Defendant Township were not subjected to permit approvals “with special exceptions” by

Defendants Township, Myers, Hayden and/or Wilson.

34.      No rational basis exists for this difference in treatment.

35.      Plaintiff is the owner of Yough Lake Sports Shop, located in Defendant Township at

5316 National Pike, Markleysburg, Pennsylvania 15459.

36.      In or about November of 2020, the roof of Yough Lake Sports Shop was blown off by a

storm.

37.      On or about November 20, 2020, Defendant met with Defendant Township’s supervisor,

Jesse Bates, II (“Bates”), and code enforcement officer, Mickey Daniels (“Daniels”), about the

damage and repairs needed for Yough Lake Sports Shop. At that time, Mr. Daniels informed the

Plaintiff that no permits were required for the repairs of the building.

38.      Shortly thereafter, Plaintiff began the repair work on Yough Lake Sports Shop.

39.      In or about December of 2020, Gary Over (“Over”) of K2 Engineering, a firm which

issues building permits for Defendant Township, informed the Plaintiff that Defendant Wilson,

in his capacity as code enforcement officer for Defendant Township, demanded that the

Plaintiff’s repairs to Yough Lake Sports Shop be stopped. At that time, Mr. Over also informed

the Plaintiff that a permit was necessary for the repairs.




                                                   6
         Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 7 of 18




40.    Shortly thereafter, on or about December 21, 2020, Plaintiff completed an application for

the required building permit and submitted the necessary paperwork. Mr. Over then told the

Plaintiff that he could continue with the repairs to Yough Lake Sports Shop.

41.    On or about January 4, 2021, at a reorganization meeting, Defendant Township, through

its supervisors, Defendants Myers and Hayden, removed the Plaintiff from the zoning board.

Defendant Hayden stated that the removal was due to the Plaintiff’s age.

42.    Other similarly situated members of the zoning board and/or other boards within

Defendant Township that are the same age and/or older than the Plaintiff and have been on the

zoning board for a similar amount of time, including Joseph Destro (“Destro”), were not

removed from the zoning board because of their age and/or for any other reason.

43.    No rational basis exists for this difference in treatment.

44.    At that time, the Plaintiff spoke about Defendant Township’s decision to remove him

from the zoning board.

45.    In response to the Plaintiff’s protected speech about a matter of public concern, i.e.,

Plaintiff’s unjustified removal from the zoning board, Defendant Myers stated “if you don’t sit

down and let it alone, I will pull all of your permits, old and new, and go over them to find

anything wrong.”

46.    On or about February 1, 2021, at a township meeting, Plaintiff questioned why the

minutes for the January 4, 2021 meeting did not contain Defendants Hayden and Myers’

comments and threats, as more fully described hereinbefore above.

47.    At that time, it was stated that no further minutes would be kept of Defendant Township’s

meetings.




                                                 7
         Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 8 of 18




48.    On or about April 28, 2021, during an executive meeting, Defendants Hayden, Myers and

Wilson agreed to take action against the Plaintiff for violations on zoning and building permits of

Yough Lake Sports Shop for repairs as more described hereinbefore above.

49.    Plaintiff believes, and therefore avers, that Defendants did not agree to take action against

other, similarly situated businesses on a lack of building permits and/or other similar violations,

especially for emergency situations similar to the one described hereinbefore above at

Paragraphs 36 through 40.

50.    No rational basis exists for this difference in treatment.

51.    Plaintiff believes, and therefore avers, that the Defendants took action against the

Plaintiff for not having zoning and/or building permits for the repairs to Yough Lake Sports

Shop in retaliation for the Plaintiff’s protected speech at the township meeting on January 4,

2021, as more fully described hereinbefore above.

52.    On or about May 21, 2021, Plaintiff received a letter from Defendant Stenson on behalf

of Defendant McMillan, in its capacity as a zoning enforcement officer for Defendant Township.

The letter indicated that the Plaintiff would be fined for not having zoning and building permits

for the repairs to Yough Lake Sports Shop as more fully described hereinbefore above.

53.    Plaintiff believes, and therefore avers, that this letter was sent in order to stop the

necessary repairs to the Plaintiff’s business.

54.    Plaintiff believes, and therefore avers, that this letter was sent in retaliation for Plaintiff’s

protected speech, as more fully described hereinbefore above at Paragraph 44.

55.    Plaintiff believes, and therefore avers, that the Defendants have not attempted to stop the

repairs and/or construction of other business owners and/or threaten to fine other similarly

situated business owners within Defendant Township for lack of zoning and/or building permits.




                                                   8
            Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 9 of 18




56.    No rational basis exists for this difference in treatment.

57.    Plaintiff further believes, and therefore avers, that Defendant Township has not required

similarly situated owners of several businesses, including, but not limited to, A&J’s Bargain

Outlet and Marclay Motors, LLC, to have any zoning or building permits.

58.    No rational basis exists for this difference in treatment.

59.    On or about July 5, 2021, Plaintiff attended a township meeting wherein he learned that

another resident of Defendant Township, Alan Evans, requested to build a commercial building

on the land that is adjacent to the Plaintiff’s property. As an adjacent landowner, Plaintiff was

not notified by Defendant Township of Mr. Evan’s intent to build a commercial building, per

Defendant Township’s ordinances.

60.    Plaintiff asked Defendant Myers why he was not notified by Defendant Township of Mr.

Evan’s intent to build a commercial building on a property adjacent to the Plaintiff’s property.

Defendant Myers responded that the Plaintiff “didn’t matter.”

61.    Plaintiff believes, and therefore avers, that other similarly situated landowners of adjacent

properties were notified by Defendant Township of Mr. Evan’s intent to build a commercial

building.

62.    No rational basis exists for this difference in treatment.

                                            COUNT I:

                   PLAINTIFF v. DEFENDANTS TOWNSHIP and MYERS

              VIOLATION OF PLAINTIFF’S CONSTITUTIONAL RIGHTS,
        SPECIFICALLY, 42 U.S.C. §1983 AND THE FOURTEENTH AMENDMENT
                    OF THE UNITED STATES CONSTITUTION

                           EQUAL PROTECTION – CLASS OF ONE

63.    Plaintiff incorporates by reference Paragraphs 1 through 62 as though fully set forth a




                                                 9
         Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 10 of 18




length herein.

64.     As described hereinbefore above, Defendant Myers made false allegations to the Plaintiff

that there was garbage buried on Plaintiff’s property and threatened to report the Plaintiff to the

Department of Environmental Protection in his capacity as Defendant Township’s supervisor.

65.     Plaintiff believes, and therefore avers, that Defendant Myers knew that there was not

garbage buried on the property and/or was threatening the Plaintiff in order to force the Plaintiff

to sell the property.

66.     As a direct and proximate result of the threats by Defendant Myers, as more fully

described hereinbefore above, Plaintiff was forced to sell his property. Plaintiff was also forced

to sell this property for a significantly low amount.

67.     Plaintiff believes, and therefore avers, that Defendant Myers has not made similar threats

to other similarly situated property owners in order to force these property owners to sell their

properties.

68.     No rational basis exists for this difference in treatment.

69.     In his capacity as supervisor, Defendant Myers purported to act as a decision-maker for

Defendant Township.

70.     The actions Defendant Myers were willful, wanton and/or done with a reckless disregard

for the rights of the Plaintiff, thereby subjecting Defendant Myers to punitive damages.

71.     As a direct and proximate result of the Defendant Meyer’s actions Plaintiff suffered the

following injuries and damages:

        a.       violation of Plaintiff’s constitutional rights under the Fourteenth
                 Amendment to the Constitution of the United States to enjoy the equal
                 protection of the law;

        b.       economic damages; and




                                                  10
        Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 11 of 18




       c.        other serious injuries and damages which may become apparent throughout
                 this litigation.

       WHEREFORE, Plaintiff demands compensatory general damages against Defendants,

and each of them, in the amount proven at trial; compensatory special damages; costs of suit;

reasonable attorney’s fees as permitted by law; pre- and post-judgment interest as permitted by

law; punitive damages against Defendant Myers; and such other relief, including injunctive

and/or declaratory relief, as this Court may deem proper.

                                                                     JURY TRIAL DEMANDED


                                            COUNT II:

                               PLAINTIFF v. ALL DEFENDANTS

              VIOLATION OF PLAINTIFF’S CONSTITUTIONAL RIGHTS,
        SPECIFICALLY, 42 U.S.C. §1983 AND THE FOURTEENTH AMENDMENT
                    OF THE UNITED STATES CONSTITUTION

                           EQUAL PROTECTION – CLASS OF ONE

72.    Plaintiff incorporates by reference Paragraphs 1 through 71 as though fully set forth a

length herein.

73.    As more fully described hereinbefore above, Plaintiff has been subjected to numerous

actions by the Defendants, and each of them, to which other similarly situated business owners

have not been subjected.

74.    No rational basis exists for this difference in treatment.

75.    Defendants treated the Plaintiff differently than other similarly situated business owners

in that other similarly situated business owners have not been subjected to delays with permits,

as more fully described hereinbefore above.

76.    No rational basis exists for this difference in treatment.




                                                 11
        Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 12 of 18




77.    Defendants treated the Plaintiff differently than other similarly situated business owners

in that Defendants has not interfered with and/or stopped repairs of other similarly situated

business owners lacking permits, as more fully described hereinbefore above.

78.    No rational basis exists for this difference in treatment.

79.    Plaintiff further believes, and therefore avers, that Defendant Township has not required

similarly situated owners of several businesses, including, but not limited to, A&J’s Bargain

Outlet and Marclay Motors, LLC, to have any zoning or building permits.

80.    No rational basis exists for this difference in treatment.

81.    Furthermore, as more fully described hereinbefore above, Defendants Township, Hayden,

Myers, McMillen, Stenson and/or Wilson, failed to notify the Plaintiff, as a landowner, about a

commercial build on an adjacent property. Plaintiff believes, and therefore avers, that other

similarly situated adjacent landowners were notified.

82.    No rational basis exists for this difference in treatment.

83.    In their capacity as township supervisors, Defendants Myers and Hayden purported to act

as decision-makers for Defendant Township.

84.    In his capacity as code enforcement officer, Defendants McMillen, Stenson and Wilson

purported to act as a decision-maker for Defendant Township.

85.    The actions of the individual Defendants, and each of them, were willful, wanton and/or

done with a reckless disregard for the rights of the Plaintiff, thereby subjecting the individual

Defendants to punitive damages.




                                                 12
        Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 13 of 18




86.    As a direct and proximate result of the Defendants’ actions, and each of them, Plaintiffs

suffered the following injuries and damages:

       a.        violation of Plaintiff’s constitutional rights under the Fourteenth
                 Amendment to the Constitution of the United States to enjoy the equal
                 protection of the law;

       b.        economic damages; and

       c.        other serious injuries and damages which may become apparent throughout
                 this litigation.

       WHEREFORE, Plaintiff demands compensatory general damages against the

Defendants, and each of them, jointly and severally, in the amount proven at trial; compensatory

special damages; costs of suit; reasonable attorney’s fees as permitted by law; pre- and post-

judgment interest as permitted by law; punitive damages against the individual Defendants; and

such other relief, including injunctive and/or declaratory relief, as this Court may deem proper.

                                                              JURY TRIAL DEMANDED

                                           COUNT III:

             PLAINTIFF v. DEFENDANTS TOWNSHIP, MYERS and HAYDEN

              VIOLATION OF PLAINTIFF’S CONSTITUTIONAL RIGHTS,
        SPECIFICALLY, 42 U.S.C. §1983 AND THE FOURTEENTH AMENDMENT
                    OF THE UNITED STATES CONSTITUTION

                           EQUAL PROTECTION – CLASS OF ONE

87.    Plaintiff incorporates by reference Paragraphs 1 through 86 as though fully set forth a

length herein.

88.    As more fully described hereinbefore above, Plaintiff was removed from Defendant

Township’s zoning board. Defendant Hayden stated that the Plaintiff was removed due to his

age.




                                                13
        Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 14 of 18




89.    Other similarly situated members of Defendant Township’s zoning board and/or other

boards, that are the same age and/or older than the Plaintiff and have been on the zoning board

for a similar amount of time, including Joseph Destro (“Destro”), were not removed from the

zoning board because of their age and/or for any other reason.

90.    No rational basis exists for this difference in treatment.

91.    In their capacity as township supervisors, Defendants Myers and Hayden purported to act

as decision-makers for Defendant Township.

92.    The actions of the individual Defendants, and each of them, were willful, wanton and/or

done with a reckless disregard for the rights of the Plaintiff, thereby subjecting the individual

Defendants to punitive damages.

93.    As a direct and proximate result of the Defendants’ actions, and each of them, Plaintiff

suffered the following injuries and damages:

       a.      violation of Plaintiff’s constitutional rights under the Fourteenth
               Amendment to the Constitution of the United States to enjoy the equal
               protection of the law;

       b.      economic damages; and

       c.      other serious injuries and damages which may become apparent throughout
               this litigation.

       WHEREFORE, Plaintiff demands compensatory general damages against the

Defendants, and each of them, jointly and severally, in the amount proven at trial; compensatory

special damages; costs of suit; reasonable attorney’s fees as permitted by law; pre- and post-

judgment interest as permitted by law; punitive damages against the individual Defendants; and

such other relief, including injunctive and/or declaratory relief, as this Court may deem proper.

                                                               JURY TRIAL DEMANDED




                                                 14
         Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 15 of 18




                                            COUNT IV:

                               PLAINTIFF v. ALL DEFENDANTS

                 VIOLATION OF PLAINTIFF’S CONSTITUTIONAL RIGHTS,
                   SPECIFICALLY, §1983 AND THE FIRST AMENDMENT
                        OF THE UNITED STATES CONSTITUTION

                                          RETALIATION

94.    Plaintiff incorporates by reference Paragraphs 1 through 93 as though fully set forth at

length herein.

95.    Plaintiff claims damages for the injuries set forth herein under 42 U.S.C. §1983 against

the above-captioned Defendants for violation of Plaintiff’s constitutional rights under color of

law.

96.    At all times relevant hereto, Plaintiff had the right to be free from retaliation based on his

right to freedom of speech.

97.    As described hereinbefore above, Plaintiff spoke at Defendant Township’s meeting about

Defendant Township’s decision to remove him from the zoning board.

98.    In response to the Plaintiff’s protected speech about a matter of public concern,

Defendant Myers stated “if you don’t sit down and let it alone, I will pull all of your permits, old

and new, and go over them to find anything wrong.”

99.    Plaintiff’s right to be free from retaliation for exercising his right to freedom of speech

was violated when Defendants violated the Plaintiff on his repairs, zoning and the building

permits, threatened to fine the Plaintiff and attempted to stop the repairs to the Plaintiff’s

business.

100.   Plaintiff believes, and therefore avers, that the Defendants agreed to take action against

the Plaintiff for not having zoning and/or building permits for the repairs to Yough Lake Sports




                                                  15
        Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 16 of 18




Shop in retaliation for the Plaintiff’s speaking on matters of public concern at the township

meeting on January 4, 2021, as more fully described hereinbefore above.

101.   Defendants’ actions, deprived the Plaintiff of rights guaranteed to him by the First

Amendment.

102.   At all times relevant hereto, Defendants Myers, Hayden, McMillen, Stenson and Wilson,

acted as a policymakers for Defendant Township, and specifically as a policymaker who made

and/or ratified the actions which led to the constitutional violations described herein, thereby

subjecting Defendant Township to liability for the damages suffered by the Plaintiff.

103.   As a direct and proximate result of the acts described hereinbefore above perpetrated by

the Defendants, and each of them, Plaintiff suffered the following injuries and damages:

       a.      violation of Plaintiff’s constitutional rights under the First Amendment to
               the Constitution of the United States to be free from retaliation of the law;

       b.      economic damages; and

       c.      other serious injuries and damages which may become apparent throughout
               this litigation.

       WHEREFORE, Plaintiff demands compensatory general damages against the

Defendants, and each of them, jointly and severally, in the amount proven at trial; compensatory

special damages; costs of suit; reasonable attorney’s fees as permitted by law; pre- and post-

judgment interest as permitted by law; punitive damages against the individual Defendants; and

such other relief, including injunctive and/or declaratory relief, as this Court may deem proper.

                                                                      JURY TRIAL DEMANDED




                                                 16
        Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 17 of 18




                                              COUNT V:

                              PLAINTIFF v. DEFENDANT WILSON

                         VIOLATION OF PLAINTIFF’S RIGHTS UNDER
                              PENNSYLVANIA COMMON LAW

                                       TRESSPASS TO LAND

104.   Plaintiff incorporates by reference Paragraphs 1 through 103 as though fully set forth at

length herein.

105.   As more fully described hereinbefore above, Defendant Wilson placed large rocks and

other debris on the Plaintiff’s right-of-way, impeding its use, without the consent of the Plaintiff.

106.   Plaintiff has made multiple demands that Defendant Wilson remove these large rocks and

debris from the right-of-way.

107.   To date, Defendant Wilson has continued to refuse to remove these large rocks and debris

from the Plaintiff’s right-of-way.

108.   As a direct and proximate result of the actions of Defendant Wilson, as set forth above,

the Plaintiff was injured and damaged as follows:

       a.        violation of Plaintiff’s rights under Pennsylvania Common Law;

       b.        inability to properly utilize the roadway on the Plaintiff’s property;

       c.        economic damages; and

       d.        other serious injuries and damages which may become apparent throughout
                 this litigation.

       WHEREFORE, for all the above reasons, Plaintiff demands compensatory general

damages against Defendant Wilson, in the amount proven at trial; compensatory special damages

including, but not limited to, costs of suit, reasonable attorney’s fees as permitted by law, pre-




                                                   17
        Case 2:21-cv-01078-CCW Document 1 Filed 08/12/21 Page 18 of 18




and post-judgment interest as permitted by law; consequential damages; and such other relief,

including injunctive and/or declaratory relief, as this Court may deem proper.

                                             JURY TRIAL DEMANDED



                                             Respectfully submitted,

                                             LAW OFFICES OF JOEL SANSONE

                                             s/ Joel S. Sansone
                                             Joel S. Sansone, Esquire
                                             PA ID No. 41008
                                             Massimo A. Terzigni, Esquire
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Dated: August 12, 2021




                                               18
